     EXHIBIT 3




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      MR DANIEL HOLLAND                                                                                            Invoice #37820
      CLEARSPAN COMPONENTS                                                                                          Mar. 31, 2009
      PO BOX 4195
      MERIDIAN MS 39304-4195
                                                      Engineering Services


PE Registration work through the NCEES process, for AL, FL, LA, MS, NC, SC, TN, TX for Jim Vogt and Ryan Dexter. Discussions
with Steve Marks and Dave Johnston at Computrus on the truss design transfer process. Continue to work on planning for the Clearspan
engineering process.
                                                                                                   Total Labor:          $2,614.18
Expenses
 9527: Fee/Engineering                                                                                                      $75.00
 9528: Ryan Dexter application/Fee                                                                                         $230.00
 9529: Record fees for AL, FL, LA, MS, NC, SC, TN, TX/Sealed Engineering                                                   $480.00
 9587: Gas/Travel - Kirk Grundahl                                                                                           $17.60
 9577: February 23 call/Teleconference service                                                                              $21.79
 9577: February 24 call/Teleconference service                                                                              $14.40
                                                                                               Total Expenses:            $838.79
                                                                             PRELIMINARY TOTAL (US$):                   $3,438.57
                                                                                           Qualtim Share 50%:           (1,719.29)
                                                                                               TOTAL (US$):             $1,719.28
                                             Federal Tax ID: 391975714
         Payment terms are NET UPON receipt of invoice. Invoices that remain unpaid after 10 days are subject to an
                INTEREST CHARGE OF 1.5% PER MONTH, which is equivalent to 18% PER ANNUM.




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